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                                                                                 FILED
                                                                               US. DISTRICT COURT
                                                                           EASTERN DISTRICT ARKANSAS

                    IN THE UNITED STATES DISTRICT COURT      JAN 192010
                        EASTERN DISTRICT OF ARKANSAS JAME~;tlM[DOO1~IAC
                              WESTERN DIVISION       By:~.J.4~~~~~"i:'E'i7


UNITED STATES OF AMERICA                                                     PLAINTIFF

        VS.                         Case No. 4:09CR00305-02-JLH

RALPH FRANCIS DELEO                                                        DEFENDANT


                                          ORDER

        Defendant Ralph Francis Deleo appeared with appointed counsel for plea and

arraignment on this date. The Government sought Defendant's detention pending trial

and has filed a supporting motion and affidavit (docket entry #29). Defendant waived a

detention hearing, but reserved his right to request a hearing at a later date on the issue of

pretrial release.

        The Government's motion (#29) is rendered moot, but will be considered if and

when Defendant moves for pretrial release. Accordingly, the Defendant is remanded to

the custody of the United States Marshal pending trial.

        IT IS SO ORDERED this 19th day of January, 2010, nunc pro tunc January 15,

2010.




                                           UNITED STATES MAGISTRATE JUDGE
